Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 1 of 13 PageID# 3506
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 2 of 13 PageID# 3507
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 3 of 13 PageID# 3508
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 4 of 13 PageID# 3509
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 5 of 13 PageID# 3510
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 6 of 13 PageID# 3511
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 7 of 13 PageID# 3512
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 8 of 13 PageID# 3513
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 9 of 13 PageID# 3514
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 10 of 13 PageID# 3515
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 11 of 13 PageID# 3516
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 12 of 13 PageID# 3517
Case 1:10-cr-00446-MSN Document 453 Filed 08/19/15 Page 13 of 13 PageID# 3518
